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                              AFFIDAVIT OF LEMA MOUSILLI


STATE OF TEXAS                            §
                                          §
COUNTY OF HARRIS                          §

       On this day, LEMA MOUSILLI appeared before me, the undersigned notary public, and

after I administered an oath to her, upon her oath, she said:

   1. “My name is LEMA MOUSILLI. I am over eighteen (18) years of age, I have never been

       convicted of a crime, and I am capable of making this affidavit.”

   2. “I serve as counsel to Equisolar, Inc. in Cause No. 7:23-cv-00443.”

   3. “I have been an attorney for 17 years and have engaged in litigation practice for the entirety

       of my career. I have served as attorney of record in numerous arbitration matters, and I am

       currently counsel in dozens of arbitrations.”

   4. “It is my professional opinion that arbitrations are always more cost-effective than

       litigation.”

   5. “A final arbitration hearing of this case would likely not take more than one day.”

   6. “The arbitrator’s rate will likely be between $400.00 and $450.00 per hour.”

   7. “One of the most cost-effective aspects of arbitration is saving discovery costs. JAMS rules

       greatly simplify discovery compared to litigation, resulting in significant savings.”

   8. “It is my experience that, even in the simplest district court cases, discovery expenses can

       easily exceed $10,000. District court cases require that Initial Disclosures be served upon

       the opposing party. Such disclosures involve a close look at the evidence at hand and a

       review of client documents in addition to summaries of legal claims and defenses. This

       requires at least several hours of work.”


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   9. “Once Initial disclosures are complete, the case moves on to more formal written discovery.

      Written discovery includes Interrogatories, Requests for Production, and Requests for

      Admission. Preparation to draft these documents requires a close review of the pleading

      and a review of the facts of the case prior to the actual drafting.”

   10. “It is not unusual that each of these documents may take two to three hours to draft.”

   11. “Thus, it is entirely reasonable to assume a minimum of ten hours of legal work just to

      prepare Initial Disclosures and the first set of written discovery. This does not include

      reviewing the responses provided.”

   12. “There is the further matter of answering discovery propounded upon my client. The

      opposing party’s Initial Disclosures must be reviewed, and a deficiency letter drafted and

      sent for any deficiencies in the disclosures along with attendant conferences with opposing

      counsel. This can easily take one to two hours.”

   13. “When Interrogatories, Requests for Production, and Requests for Admission are received,

      they must be reviewed for objectionable requests. Then they must be reviewed with and

      explained to the client. That process can take two hours, even for simple discovery requests.

      Once the client has responded, the responses must be reviewed and discussed with the

      client. That accounts for several more hours.”

   14. “Once the client’s responses have been reviewed and clarified, the formal responses must

      be drafted, entailing another three to four hours per set of requests.”

   15. “Clearly, written discovery can easily run to 30 hours of work. Assuming a billing of

      $350/hour, the cost would be over $10,000.”

FURTHER AFFIANT SAYETH NAUGHT.




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                                     _/s/ Lema Mousilli____
                                     LEMA MOUSILLI


      SWORN TO and SUBSCRIBED before me on the 20th day of May 2024.



                                     __________________________________
                                     NOTARY PUBLIC




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AFFIDAVIT OF LEMA MOUSILLI
